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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
Civil Action No. 2:16-cv-985-WHA

VS.

$389,820.00 in Lawful United States
Currency, et al.

Defendants.

DEFENDANT’S MOTION TO SUPPRESS

COMES NOW, the Defendant, Ruby Barton as the Executor of the Estate of
Rodriquez Garth, by and through her attorney of record, Michael L. Kidd, hereby
files the forgoing Motion to Suppress the Evidence Seized by Law Enforcement from
the residence of 94 Breckinridge Court, Deatsville, Alabama and Brief in Support of
the same, Would state unto this honorable Court as follovvs, to-Wit:

I. BACKGROUND OF MOTION

Mr. Rodriquez Garth Was shot two times in the chest While he sat inside his
vehicle. The shots Were fired from outside of the Vehicle through the driver’s door
WindoW. During the course of the investigation that night and later into the next
morning, Elmore County investigators obtained a series of search Warrants for the

residence of 94 Breckinridge Court, Deatsville, Alabama the alleged location Where
the defendant Was shot. The items that are the Subject of this forfeiture proceeding

Were found pursuant to the executed search Warrants at the residence.

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II. THE FEDERAL CHARGES

The Government has issued an in rem forfeiture action against the listed
property pursuant to 21 U.S.C § 881(a)(6) seeking forfeiture pursuant to 21 U.S.C.
§ 841(a)(1) drug distribution and 846 (conspiracy to commit a violation of the
Controlled Substances Act), of $389,820.00, $15,780, $4,550.00 a 1972 Chevrolet
Chevelle, SSB96 and miscellaneous jewelry. On May 13, 2016 $4,550.00 and
miscellaneous jewelry were seized from inside the vehicle Garth was driving and
from Garth’s person. These items are not the subject of the forgoing Motion to

Suppress.

III.THE SEARCH AND SEIZURE OF PROPERTY

On May 14th, 2015 Investigator J ames Talley with the Elmore County Sherifi’ s
Offlce tendered an application and affidavit in support of a search warrant for the
residence of 94 Breckinridge Court, Deatsville, Alabama to Elmore County District
Court Judge Glen Goggans. The affidavit stated the following in support of
probable cause.

On May 13th, 2015 at approximately 10:45 p.m., Rodriquez Garth called Elmore
County 911 from the parking lot of the Millbrook Sonic, 77 Dudley Drive, Millbrook,
Alabama. He advised emergency responders that he had been shot while sitting in
his car parked in the parking lot of the Liberty Convenience Store located three
tenths of a mile away from his location. Responding personnel found Mr. Garth

behind the wheel of his Mercedes and observed two gunshot holes in the driver’s

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window of the vehicle. Mr. Garth Was seated in the vehicle with two apparent
gunshot wounds to the left side of his chest. He was conscious when first
responders arrived and was able to communicate that he had been approached by
an unknown black male subject who shot him two times through the window of the
vehicle while he was parked at the Liberty Convenience Store. Mr. Garth Was
rushed to Jackson Hospital where he was treated for his injuries. On the way to the
hospital he lost consciousness and approximately two weeks later he died from his
injuries He never regained consciousness nor did he ever have the ability to
communicate further with investigating officers

Officers began their investigation and responded to the Liberty Convenience
Store to investigate the alleged offense. Although they were unable to secure any
useful video, they did find a shell casing in the parking lot where Mr. Garth stated
he had been attacked by the unknown assailant While conducting their
investigation law enforcement was notified that a resident located at 74
Breckinridge Court, Deatsville, Alabama had contacted the Elmore County Sheriff s
OfEce and advised an unknown female came to his house around 11:00 p.m.
professing her husband had been shot and was in the back yard of 94 Breckinridge
Court. The unknown female was requesting assistance with regard to her alleged
husband being in the back yard. The resident advised he assisted the female by
walking to 94 Breckinridge Court where he asked her to go inside the residence and
turn on the exterior flood lights. The female advised the house Was locked and she

did not have any keys to the house. The resident then asked the female to position

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one of the two cars located in the driveway of 94 Breckinridge Court so that the
headlights from the car could illuminate the back yard. The female advised she did
not have the keys to either vehicle. While at 94 Breckinridge Court the female
received a call on her cell phone notifying her that the injured person was not in the
back yard of the residence, but was actually at the Sonic in Millbrook. No deputies
were dispatched to the location of 94 Breckinridge Court at that time. The resident
returned to his house after the female left for the Millbrook Sonic. While inside the
house the resident heard several vehicles arrive and leave from 94 Breckinridge
Court. Alarmed by the unusual activity he contacted the Elmore County Sheriff s
Office where he was identified as John Bloch.

Elmore County deputies responded to 94 Breckinridge Court where they
observed what appeared to be fresh tire tracks in the lawn. lt appeared someone
left the location at a high rate of speed spinning tires in the grass. They also
observed in the driveway one spent shell casing that was similar in nature to the
shell casing previously located in the Liberty Convenience Store parking lot. The
deputies stated the two cars in the drive belonged to Ruby Barton and Kenyse
Savage, the mother and sister of Rodiquez Garth. While there they interviewed Mr.
John Bloch, the resident at 74 Breckinridge Court.

lnvestigator James Talley traveled to Baptist South Hospital where Mr. Garth
was transported for medical treatment While at the hospital he interviewed
Shanda Daniels. There he learned Ms. Daniels was the female that knocked on the

door of 74 Breckinridge Court and asked Mr. John Bloch for assistance. Ms.

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Daniels told Investigator Talley she had received a call from Rodiquez Garth
around 10:30 p.m. advising he had been shot. She advised the reason she went to
94 Breckinridge Court was that was the only location in Elmore County Mr. Garth
would go to seek help. The affidavit in support of the application for the search
warrant is silent to a number of critical pieces of information; such as, why she
believed 94 Breckinridge Court would be the only place in Elmore County he would
travel for assistance The affidavit does not state Investigator Talley inquired if Ms.
Daniels was in fact married to Mr. Garth or if she had represented to Mr. Bloch at
74 Breckinridge Court she was married to him. The affidavit does not mention if
Mr. Daniels acknowledged to Investigator Talley that she had in fact advised Mr.
Bloch that Mr. Garth had been shot and was in the back yard of 94 Breckinridge
Court, or more importantly why she believed this to be true.

In Investigator Talley’s Affidavit, he stated he interviewed the Mother and the
two sisters of Rodiquez Garth at Baptist Hospital and “they” advised they had no
knowledge of him living at or frequenting a house in Elmore County. In an
attached affidavit (Defendant’s Exhibit B) Kenyse Savage denies she ever spoke to
Investigator Talley at the hospital. She advised that she spoke with him the
following morning by cell phone and that she never told Investigator Talley she had
no idea why Mr. Garth would have been at 94 Breckinridge Court in Elmore County
the night he was shot, because she knew this to be his residence. To the contrary,

she advised lnvestigator Talley Mr. Garth resided at the residence located at 94

Breckinridge Court.

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The affidavit submitted by Investigator Talley led to the issuance of a
search warrant for the residence of 94 Breckinridge Lane. The affidavit never
conclusively stated the relationship between 94 Breckinridge Court and Mr. Garth.
At best the affidavit makes a circumstantial conclusion the residence at 94
Breckinridge Cour must be related to Mr. Garth. The affidavit submitted by
Investigator Talley does not confirm 94 Breckinridge Court was the residence of Mr.
Garth when in fact he had been told by Mr. Garth’s sister the property was being
leased by him. The affidavit is silent as to who owned or leased the property, the
name of the individual who had established utilities at the residence, or any
statement from neighbors stating Mr. Garth occupied the residence.

The search warrant directed law enforcement to search the interior of the
residence for evidence of an assault or shooting There was no testimony in the
affidavit Mr. Garth shot back at the perpetrator or was armed with any type of gun.
There was no mention of any type of blood drops or blood being found near the
residence of 94 Breckinridge Court which would indicted after being shot, Mr. Garth
exited his vehicle and went into the house. Considering Mr. Garth as the victim of
the crime, there is no theory stated in the affidavit as to why law enforcement
would believe that the residence at 94 Breckinridge Court would harbor any

evidence of the crime relating to the shooting of Mr. Garth.
Investigator Talley’s theory of the case was that Mr. Garth was in the
driveway of 94 Breckinridge Court, While in the driveway an individual walked up

and shot two times through the driver’s side window into Mr. Garth’s car striking

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him two times in the left side of his chest. After being shot, Mr. Garth tore out of
the driveway at a high rate of speed tearing up the neighbor’s lawn on the way out
of the drive. He then traveled to Sonic in Millbrook where he called 911. The only
logical theory as to why you might expect to find evidence of this shooting inside the
residence of 94 Breckinridge Court, is to conclude the perpetrator of the crime lived
at the house or had some connection to it and after the shooting went inside and hid
the gun, shell casings or other evidence relating to the shooting. If the house
belonged to Mr. Garth, this theory does not hold water; much less establish
probable cause to believe evidence would be inside the residence. By failing to
include facts stating conclusively the house at 94 Breckinridge Court was the
residence of Mr. Garth, Investigator Talley was able to constructively argue the
perpetrator of the crime might have some connection to the house where he or she
could have gone inside the residence and hid evidence of the crime Within the
confines of the house. Had Investigator Talley conclusively stated he knew the
house to be the residence of Mr. Garth, there would have been no logical argument
to believe evidence of this shooting would be found within the residence under his
theory of the case as presented to the magistrate

The initial search warrant for the residence (Defendant’s Exhibit A) was

issued by Elmore County District Judge, Glenn Goggans at'8:10 a.m. on May 14th,
2015. The warrant was issued to search the property for firearms, ammunition,
spent ammunition casings and any other evidence related to the discharging of a

firearm or physical altercation. The during the initial search of the residence the

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Elmore County Sheriff’ s Office did not find any evidence of a shooting, however they
did find a large amount of marihuana. Once contraband had been found, the
Sheriff’s Department left the house, secured the residence and sought a second
search warrant (Claimant’s Exhibit B) with the probable cause for its issuance
being the items of contraband found during the execution of the initial search
warrant During the second search warrant the items that are now the subject of
the forgoing forfeiture proceeding were seized and taken into the possession of the

Elmore County Sheriff’ s Office.

IV.THE FOURTH AMENDMENT ILLEGAL SEARCH _ THE LAW

The Fourth Amendment to the United States constitution protects the right of
persons to be free from unreasonable searches and seizures The protection of one’s
privacy within the confines of his own home is at the forefront of the protections of
the Fourth Amendment "The physical entry of the home is the chief evil against
which the wording of the Fourth Amendment is directed," Payton v. New York, 445
U.S. 573 at 585. The Supreme Court has held when officers break the door of a
home to arrest someone, they “invade the precious interest of privacy summed up in
the ancient adage that a man's house is his castle." Miller v U.S., 357 U.S. 301 at
307. “A search warrant may only be issued upon a showing of probable cause that
evidence or instrumentalities of a crime or contraband will be found in the place to
be searched." Ex Parte Green, 15 So.3d 489 (Ala. 2008) citing United States v. Gettel,

474 F.3d 1081, 1086 (8th Cir.2007). “The exclusionary rule is a judicially created

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remedy designed to safeguard Fourth Amendment rights through its deterrent
effect, and requires that evidence obtained through an illegal search be excluded
from use by the government in a subsequent prosecution United States v. Martin,
297 F.3d 1308, 1312 (11t_h Cir. 2002). The Supreme Court created a good-faith
exception to this rule, stating that courts generally should not hold inadmissible
evidence obtained by officers acting in reasonable reliance upon a search warrant
later found to be unsupported by probable cause or technically insufficient
However there were exceptions to Leon. The Leon good-faith exception applies in
all but four sets of circumstances Those circumstances are: (1) where the judge
issuing the warrant was misled by information in an affidavit that the affiant knew
was false or would have known was false except for his reckless disregard of the
truth; (2) where the issuing judge has " wholly abandoned" the neutral judicial role
such that no reasonably well trained officer would rely on the warrant; (3) where
the warrant is so lacking in indicia of probable cause that official belief in its
validity is entirely unreasonable; and (4) where the warrant is facially deficient

Leon, 468 U.S. at 923, 104 S.Ct. at 3421. Leon, 468 U.S. at 922.

Here, Mr. Garth was the victim of a shooting, not the perpetrator. He made a
dying declaration he was shot inside his vehicle near the Liberty gas station on

Deatsville Highway. The physical evidence corroborates his dying declaration in

that there were two bullet holes in the driver’s side window to correspond with the
two gunshot wounds to his left chest. There was a shell casing found in the parking

lot where he advised he had been shot.

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Law enforcement attempts to draw a nexus between 94 Breckenridge Court
and the shooting through the statement of Mr. John Bloch. Mr. Bloch stated at
approximately 11:05 p.m. an unknown female described as the next door neighbor’s
Wife knocked on his door and stated that her husband “had been shot and was in
the back yard at the residence of 94 Breckenridge Court.” The affidavit is silent as
to why Mr. Bloch assumed the unidentiied woman was in fact “the next door
neighbor’s wife”. Did she tell him this? Had he seen her at the house on previous
occasions, or did he just assume she was next door neighbor’s wife? The affidavit
also fails to establish the female’s house was 94 Breckenridge Court, It merely
states the “next door neighbor’s wife” knocked on Mr. Bloch’s door and the affidavit
established Mr. Bloch lived at 74 Breckenridge Court, The affidavit is silent as to
the proximity of 74 Breckenridge Court to 94 Breckenridge Court. Is there a 76, 78,
80, 82, 84, ect. Breckenridge Court or is 94 Breckenridge Court next door? ln the
fourth paragraph of page 2 of the affidavit, the female is referred to as “the next
door neighbor’s wife”, and she states her husband is in “the back yard at the
residence at 94 Breckenridge Court.” Thus, it is not affirmatively stated 94
Breckenridge Court is in fact her residence or more importantly, the residence of

Mr. Garth.

The affidavit also states that Mr. Bloch’s daughter stated she heard what she
thought were two gunshots around 11:00 p.m., five minutes prior to the unknown
female showing up at his house asking for help. However, the time line established

from other witnesses established Mr. Garth was shot sometime around 10:25 or

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10:30. This is established by three different pieces of evidence, one the 911 call for
service from Sonic, the place where Mr. Garth eventually stopped, was made at
10:48 p.m., According to the affidavit, Mr. Garth’s sister, Kenye Savage, spoke to
Mr. Garth around 10:40 p.m. by phone where he advised he had already been shot.
The affidavit also states the female at John Bloch’s residence was Shanda Daniels
and she spoke to Mr. Garth at 10:30. She also stated Mr. Garth advised over the

phone he had been shot.

The affidavit also states the affiant spoke to Kenye Savage at the hospital
and she as well as her sister and mother told the affiant they had no idea why Mr.
Garth would be in Elmore County or at the residence of 94 Breckenridge Court.
According to Ms. Savage, (See Defendant’s Exhibit D) she never spoke to the
Investigator Talley at the hospital, nor did she tell him she had no idea why Mr.
Garth would be in Elmore County. She stated she did not speak to the affiant until
early the next morning around 6:00 a.m. and she spoke to him by phone. She stated
in her conversations with Investigator Talley she advised him that Mr. Garth lived
at the residence of 94 Breckinridge Court and that she had assisted him in signing
the rental agreement for the house. Thus at the time of the submission of
Investigator Talley’s affidavit for search warrant, he knew 94 Breckinridge Court
was in fact the residence of Mr. Garth, but he chose to omit this fact from the

affidavit.

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The affiant’s theory as stated in the affidavit is that Mr. Garth was in his
vehicle outside his residence when he was approached and shot in car while it was
parked in the drive way at 94 Breckinridge Court, Immediately after the shooting
Mr. Garth sped from his driveway driving across the next door neighbor’s lawn at a
high rate of speed, spinning tires and tearing up the turf. He then made two
telephone calls from his car as he drove himself to the Sonic in Millbrook. This
theory is based upon Mr. Bloch’s daughter allegedly hearing two gunshots around
11:00 p.m. and the fact there was a shell casing found in the drive way similar to
the one found at the Liberty service station, indicating that Mr. Garth must have
been shot in the drive way and fled to the sonic where he called 911. The problem
with this theory is that all of Mr. Bloch’s recorded events would have occurred well
after the shooting took place. The actual shooting occurred around 10:30 pm. not
11:00 p.m. Furthermore, the affidavit fails to state Mr. Bloch’s daughter was at

home when she allegedly heard the gunshots

The affidavit must establish some nexus between the inside of the residence
of 94 Breckenridge Court and probable cause to believe evidence of the shooting
would be found within the residence. Mr. Garth is not the perpetrator. There was
no blood found outside of the house, nor was there any broken glass There was no
blood found on the drive Way, on the sidewalk, on the front porch or any other
location around the house to suggest after he was shot, Mr. Garth exited the vehicle
and went into the residence. Even if the shooting did take place in the driveway as

suggested in the affidavit, there is no evidence of any kind to suggest evidence of

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the shooting would be found inside the house. To the contrary, under the Affiant’s
theory spelled out in the affidavit, the defendant was shot in the driveway of 94
Breckinridge Court, in an effort to get away, immediately left the residence at a
high rate of speed, tearing up the neighbor’s lawn and drove to the sonic speaking to
his sister and Ms. Daniels by phone along the way. Under this theory of the offense,
there is no Way to establish probable cause to believe any evidence of the crime
would be found in the residence located at 94 Breckinridge Court unless you
represented to the court you Were unsure who resided at 94 Breckinridge Court and
perhaps the perpetrator of the crime had a connection to the residence where he
would be inclined to enter the residence after the shooting in an attempt to hide
evidence of the crime. The affidavit does not state if the house was secure when law
enforcement first arrived to investigate, suggesting someone might have had access

to the inside of the residence.

Finding probable cause based upon submitted affidavit, completely ignores
the dying declaration made by Mr. Gath stating he was shot at the Liberty gas
station on Deatsville Highway. This statement was corroborated by the physical
evidence in that a shell casing was found in the area where he stated he had been
shot. The physical evidence suggests at least two shots were fired through the

driver’s side window striking Mr. Garth two times in the left side of his chest while

he sat in his car. The area to be searched in the search warrant was the residence
of 94 Breckenridge Court and / or any vehicles on the property for, “firearms,

ammunition, spent ammunition casings and any other evidence related to the

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discharging of a firearm or physical altercation”. lf the government’s theory is that
94 Breckenridge Court was the residence of Mr. Garth what possible theory of the
crime could there be to indicate evidence of the shooting would be found inside the
residence? lt is undisputed Mr. Garth was inside of his Vehicle when he was shot.
The shell casing found at the residence was outside in the driveway. Simply put,
unless the car was parked in Mr. Garth’s living room when he was shot there is no
evidence presented in the affidavit to suggest any of items sought in the search

Warrant would be found inside of the residence.

The defendant alleges the affidavit used to obtain the initial search warrant
issued by Elmore County District Judge Gleen Goggans deliberately withheld the
fact that lnvestigator Talley knew Mr. Garth resided at 94 Breckinridge Court, By
withholding this material fact, lnvestigator Talley could argue the perpetrator of
the shooting could have had some connection and / or access to the residence and
could have entered the residence in order to hide evidence of the crime, However
under the theory stated in lnvestigator Talley’s affidavit, if the house belonged to
Mr. Garth, why would someone go into Mr. Garth’s house after shooting him in his
driveway to hide evidence of the shooting? lf this material fact had been known to
the magistrate it would have precluded the finding of probable cause to search the
residence. Furthermore, the actual evidence of the crime is contrary to
lnvestigator Talley’s theory of the crime, The available testimony and physical
evidence strongly supported Mr. Garth was shot inside his vehicle while it was

parked at the Liberty Convenience Store several miles away from the residence.

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The initial search warrant should have never been issued upon probable cause. The
warrant lacking probable cause yielded poisonous fruit which was the basis for the
second search warrant Simply put, without the tainted evidence obtained through
the first search warrant, no probable cause existed for the issuance of the second

search warrant

WHEREFORE the claimant prays this honorable court will hold the search of
the residence of 94 Breckenridge Court was without probable cause and that the
deliberate withholding of evidence precludes the government from arguing a good
faith exception under Leon existed making the search of the residence lawful and
suppress any and all evidence obtained from the fruit of the first search warrant.

Respectfully submitted on this the 12th day of April, 2019.

s/ Michael L. Kidd
of counsel
CERTIFICATE OF SERVICE

l hereby certify that on April 12th, 2019, l electronically filed the forgoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to

the following:

Rand R. Neeley
Assistant United States Attorney
Post Office Box 197

Montgomery, AL 36101
s/Michael L. Kidd

MICHAEL L. KIDD (KID001)
Attorney for the Defendant

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STATE OF ALABAMA

  

COUNTY OF ELMORE *

Before me, Glenn Goggans, District Judge of Elmore County Alabama, the undersigned duly

sworn, deposes and says that:

“My name is, James Talley, l am a Sergeant with the Elmore County Sheriff’s Office and I am
currently assigned to the lnvestigative Division. l have been employed with the Sheriff’s Office for
the past 15 years. I have personally lead investigations and assisted with the investigations of
thousands of crimes while assigned to both the Patrol and lnvestigative Divisions. I know that the
preservation and collection of all evidence is imperative to the development of a comprehensive

investigation

The affiant further states that he has reason to believe, probable cause to believe and does
believe that evidence related to the crimes of, Discharging Firearm into cm Occupied Vehicle and
Assau/I lst, will be found in the residence at 94 Breckenridge Court Deatsville, in Elmore County
Alabama. This evidence includes firearms, ammunition, spent ammunition casings and any other

evidence related to the discharging of a firearm or physical altercation

Directions to the residence are as follows; leaving the Elmore County Judicial Complex turn
south on U. S. Highway 231 and travel approximately one mile to the intersection of Coosa River
Parkway also known as Alabama Highway 14. Travel approximately 3 miles and turn right,
continuing on Alabama Highway 14 also known as Elmore Road. Travel approximately 5.5 miles
to the intersection Alabama Highway 14 and Alabama Highway 143. Turn left continuing on
Alabama Highway 14 for approximately 4 miles to the intersection of Deatsville Highway. Turn
right onto Deatsville Highway and travel approximately 5 miles to the intersection of Breckenridge
Place. Turn right on Breckenridge Place and travel approximately 100 feet to the intersection of
Breckenridge Court. Turn right onto Breckenridge Court and 94 Breckenridge Court is the 5th

residence on the right The residence is a single story, brick residence with attached garage and

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privacy fence surrounding the back yard. The residence has a black mail box near the driveway

and roadway that designates it as 94.

The facts tending to establish the foregoing grounds for the issuance of a search warrant

which are as follows:

On May 13, 2016 at 10:48pm Millbrook Police Department responded for a call for service at
the Sonic Drive-In at 77 Dudley Drive in Millbrook. in reference to an individual who was shot.
Upon arrival Millbrook Police Department officers made contact with the individual who was shot
and identified him as Rodriquez Lakcith Garth. Mr. Garth was conscious but had two gunshot
wounds to his left torso. Mr. Garth told law enforcement that an unknown black male shot him

near the Liberty Convenience Center at 154 Deatsville Highway, while he was in his vehicle,

At 11:05pm the Elmore County Sheriff’s Office received a call from 74 Breckenridge Court
in Deatsville. The caller advised that the next door neighbor’s wife knocked on his door and stated
he husband had been shot and was in the back yard at the residence at 94 Breckenridge Court,
Deputies began responding but the call was dismissed after it was discovered the call was in

conjunction with the shooting call from Sonic Drive-ln in Millbrook.

The complainant called the Sheriff`s Office back a short time later to report that there were
several vehicles that arrived and left from the residence at 94 Breckenridge Court. The
complainant was advised that the offense occurred in Millbrook’s police jurisdiction The
complainant contacted Millbrook Police Department and advised them that that his daughter heard

what sounded like two gun shots around ll:00pm on the same evening

Deputy Foster with Elmore County Sheriff’s Office went to the residence at 94 Breckenridge
Court and found one spent shell casing, in the driveway outside the garage He also discovered
vehicle tire tracks leading from the driveway at 94 Breckenridge Court crossing the neighbor’s
front yard before going off the curb onto the roadway. The vehicle that made the tracks appeared
to be driving quickly as it drove across the sod causing pieces of grass and soil to be pulled up

from the sod as the tires spun. The location of the tire tracks appeared to have been coming from

the garage

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Three vehicles were located at the residence, two in the driveway and one in the garage
There was also a vacant space in the garage where it appeared another vehicle had been parked at
one time. ln the driveway of the residence was a 2007 Cadillac DTS, tag # 3AF2181, registered in
the name of Ruby Barton, Mr. Garth’s mother. The second vehicle in the driveway was a 2000
Ford Ranger, tag# 3AV5100, registered in the name of Kenyse Savage, Mr. Garth’s sister, The

vehicle in the garage could not be identified

John Bloch, the neighbor at 74 Breckenridge Court stated that he had been sleeping when
vehicle horns blowing and then about 10 minutes later his door bell rang. When he answered the
door a female told him her husband had been shot and was laying in the backyard of the residence
at 94 Breckenridge Court. Mr. Bloch and his wife walked outside to help the woman as he asked
the woman to go into the residence and turn on the backyard lights so they could see due to the
darkness. The woman told Mr. Bloch that she did not have a key and he asked her to turn on the
headlights of the two vehicles parked in the driveway of the residence. The woman told Mr. Bloch
again that she did not have a key to either one of the vehicles in the driveway. Mr. Bloch said he
opened the gate to the privacy fence and looked into the back yard but did not walk in. Mr. Bloch
said he did not see anything and at about that time the woman was told over her cell phone that the
victim was in Millbrook. She got into her vehicle and left the residence. Mr. Bloch advised the
woman did not cause the tire tracks in his front yard when she left and he did not see any of the

vehicles that came to the residence after the woman left drive across his front lawn either.

Mr. Garth was transported to Baptist Medical Center South where he underwent surgery and
was listed in serious condition in SICU. Mr. Garth was not able to provide law enforcement any
additional information at the hospital and will not be able to communicate for at least 24 hours or

longer.

Mr. Garth’s family, including his mother and two sisters, were contacted at Baptist Medical
Center South and advised they did not know what Mr. Ganh was doing in Elmore County and they

had no knowledge of him staying or frequenting a residence in Elmore County.

Shanda Daniels, was identified as the woman whom asked for assistance from the neighbors

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at 74 Breckenridge Court. Ms. Daniels stated that she received a call from Mr. Gar’tharound

10: 30pm advising he had been shot. Ms. Daniels said she went to 94 Breckenridge Court because

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that was the only location she knew Mr. Garth would go to in Elmore County Ms. Daniels stated
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that Mr. Garth did not provide any information regarding the shooting Ms. Daniels advised she

talked to Mr. Garth on the telephone forjust a couple minutes.

Mr. Garth’s sister, Kenyse Savage, stated that at 10:4Op1n the same date, Mr. Garth called her
and stated he had been shot and was driving for help. Mr. Garth advised his sister that he was on a
back road and did not know his exact location. Mrs. Savage advised him to find a landmark where
he could call 9-1~1 for help. Mrs. Savage stated that she was on the telephone with Mr. Garth

between 3-4 minutes but he did not provide her with any information related to the shooting.

Mr. Garth’s residence is about 5 miles from the Liberty Convenience Center, which would
take several minutes to travel to from Mr. Garth’s residence. The main road between the victim’s
residence and Millbrook, Deatsville Highway, is a two lane mral road, supporting the assertion that
Mr. Garth was shot at 94 Breckenridge Court and traveled several miles while making several

phone calls.

Investigators from Elmore County Sheriff’s Office went to the Liberty Convenience Center
in l\/Iillbrook to check for surveillance video and to search the area. No video was able to be
viewed but the investigators did locate a single spent shell casing similar to the casing found at 94

Breckenridge Court.

Based on the foregoing facts and probable cause the affiant believes that the aforementioned
evidence related to the crimes of, Dischargz`ng Firearm into Occupied Vehicle and Assault lst, will

be located in the residence at 94 Breckenridge Couit Deatsville in Elmore County Alabama

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/ /"%!srlor\ron JAMES TALLEY
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STATE OFALABAMA )
MONTGOMERY COUNTY )

AFFIDAVI'I` OF KENYSE C. SAVAGE

COMES NOW Kenyse C. Savage hereby provides the following statement
certifying under oath subject to perjury as of the Laws of the State of Alabama state that
the forgoing statement is a true and correct statement of fact:

My name is Kenyse C. Savage and l am the sister to Rodiquez Ganh. ln May of
2016. my brother was renting a house at 94 Breckinridge Court in Deatsville, Alabama. I
assisted my brother in obtaining the lease. He had credit issues in his past and did not
qualify to purchase or lease a house. I executed the lease because l qualitied; the house
was rented through Re-Max realty for $l .200.00 per month. I also had to assist in having
the utilities turned on in my name due to my brother`s credit. My brother paid the rent
each month as well as all of the utilities He lived alone at the 94 Breckinridge Court
residence. and to my knowledge other than staying at my mother residence from time to
time this was his only residence.

On the night my brother was shot. l received a call from him around ten thirty-
flve p.m. He advised me he had been shot by an unknown assailant. He appeared to be
disoriented and confused l advised him to stay on the phone with me until he could find
some landmark where he could tell me his location or he could safely ask for help. He
advised me he was pulling into Sonic in Millbrook, Alabama. l was on the phone with

him for three to four minutes.

l went to Baptist South Hospital with my brother to be treated for his injuries.
While at the hospital l was never interviewed by any members of law enforcement.

Neither l nor my sister told any members of law enforcement we had no knowledge as to

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why our brother would have been in Elmore County or at the Breckinridge Court
residence. 'I`o the contrary, if asked, I would have provided law enforcement with
knowledge of my brother living at the 94 Breckinridge Court address since I had leased
the residence for his benefit. To my knowledge I never saw my sister speak to any
members of law enforcement while we were at the hospital I did observe my mother
speaking to an investigator; however the investigator separated my mother from my sister
and me where I could not over hear his conversation with her.

The following morning around 6 a.m., I received a call from lnvestigator James
Talley. We spoke for several minutes where I advised him that the residence at 94
Breckinridge Court was my brother’s house. I also advised him the utilities were in my
name and I had assisted with the lease of the house because he had credit problems
Further, affiant sayeth not.

Signed on this the L%/day of January, 2019,

ama c swint
Kenyse d. Savage7 V

i/c
Subscribed and sworn to before me on this the 1 52 day of January, 2019.

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My Commission Expires: bl[/ j_/ ;l 0 al j

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SEARCH WARRANT

STATE OF ALABAMA *

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COUNTY OF ELMORE *

TO THE SHERIFF OR ANY PEACE OFFICER OF SAID COUNTY:

THE ATTACHED AFFIDAVIT having been sworn to me by James Talley. before me
this day, based upon facts stated therein and probable cause having been found, in the name of
the People of the State of Alabama, l command that you and/or any persons you designate
search, the residence at 94 Breckenridge Court Deatsville in Elmore County Alabama, along
with any vehicles 011 the property for firearms, ammunition, spent ammunition casings and any
other evidence related to the discharging of a firearm or physical altercation, and make return
to this court within ten (lO) days.

issut-:D To JAMES TALLEY. UNDER MY HAND AT`K.\O o'ciock A_.M.,

this §\;*\‘YL day of mgm .20|5.

 

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ELMORE COUNTY

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SEARCH WARRANT

STATE OF ALABAMA *

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COUNTY OF ELMORE *

TO THE SHERIFF OR ANY PEACE OFFICER OF SAID COUNTY:

THE ATTACHED AFFIDAVIT having been sworn to me by James Talley, before
me this day, based upon facts stated therein and probable cause having been found, in the name of
the People of the State of Alabama, I command that you and/or any persons you designate search,
the residence at 94 Breckenridge Court Deatsville in Elmore County Alabama, along with any
vehicles on the property for firearms ammunition, illegal narcotics, drug packaging materials,
currency, ledgers, notes, computers, cellular telephones, mediums used for storing electronic data
(CD-R, DVD-R, Thumb drive, etc.), measuring scales and any stolen property and make return to

this court within ten (10) days.

ISSUED To JAMES TALLEY. UNDER MY HAND AT la o'ctoct< A_.M.,

this lj*ri\dayof mir/j ,2015.

 

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